     Case 6:22-cv-01209-ADA-DTG           Document 39          Filed 07/21/23   Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

WILLIAM BIGGS,                                  §
                                                §
      Plaintiff,                                §
                                                §
v.                                              §    Case No. 6:22-cv-01209-ADA-DTG
                                                §
BUREAU OF ALCOHOL,                              §
TOBACCO, FIREARMS AND                           §
EXPLOSIVES,                                     §
                                                §
      Defendant.                                §

                   PLAINTIFF’S FIRST AMENDED COMPLAINT

       COMES NOW Plaintiff, by and through his counsel of record, and for his First

Amended Complaint pursuant to Fed. R. Civ. P. 15(a)(2), and with Defendant’s consent.

In support thereof, Plaintiff states as follows.

                                          PARTIES

       1.     Plaintiff is an individual residing in the Western District of Texas at 211

Runway Lane, Temple, Texas 76504.

       2.     Defendant is the agency responsible for enforcing firearm registration for the

United States of America. Defendant can be served through their attorney of record,

Landon Wade via e-service.

                              JURISDICTION AND VENUE

       3.     Pursuant to U.S.C. 28 § 1331, this Court has jurisdiction as this claim arises

from the Constitution of the United States of America.

                                Plaintiff’s First Amended Complaint
                                Cause No. 6:22-cv-01209-ADA-DTG
                                              Page 1 of 5
    Case 6:22-cv-01209-ADA-DTG            Document 39          Filed 07/21/23   Page 2 of 5




        4.     Further, Pursuant to 28 U.S.C. § 1391(e)(1)(B), venue is proper in this Court

as the events giving rise to the suit occurred in the Western District of Texas and the

property subject to this suit, a M14NM (“the Rifle”) was situated in the Western District.

                                            FACTS

        5.     Plaintiff’s father received the Rifle from the Army in the late 1960’s or 1970’s

pursuant to AR920-25.

        6.     This item is considered among the most prized possessions of Plaintiff’s, and

not for market value, but for sentimental value.

        7.     When Plaintiff’s father received the Rifle, there were no requirements to

register it.

        8.     Plaintiff’s father then gave the Rifle to Plaintiff’s brother, who gave it to

Plaintiff.

        9.     At all relevant times, Plaintiff has been licensed by Defendant to manufacture

machine-guns and holds an 0-7 license with Defendant.

        10.    When Plaintiff came into possession of the Rifle, he notified Damon Wright,

employee of the Defendant regarding the possession of the Rifle and its legality.

        11.    Mr. Wright responded to Plaintiff that the Rifle was contraband under 18

U.S.C. 922(o).

        12.    Plaintiff attempted to register the Firearm with Defendant, who initially

approved the registration.




                                Plaintiff’s First Amended Complaint
                                Cause No. 6:22-cv-01209-ADA-DTG
                                              Page 2 of 5
    Case 6:22-cv-01209-ADA-DTG            Document 39          Filed 07/21/23   Page 3 of 5




       13.     the Rifle was confiscated on September 9, 2021, with no notice or

opportunity for a hearing.

       14.    On September 15, 2021, the Rifle was approved for registration.

       15.    After Mr. Wright was informed of the approved registration, the registration

was then disapproved.

       16.    After unsuccessfully attempting to regain possession of the Rifle, Plaintiff

filed this suit on November 21, 2022.

                                   CAUSES OF ACTION

      COUNT 1. VIOLATION OF THE FEDERAL DUE PROCESS CLAUSE

       17.     The allegations set forth above in Paragraphs 1 through 16, inclusive, are

incorporated into this cause of action by reference as if set forth in full.

       18.    At all relevant times, Plaintiff has been the owner of the Rifle, which was

initially validly registered with Defendant.

       19.    Plaintiff filed his application to register the Rifle with Defendant on

September 9, 2021. Said application was granted on September 15, 2021.

       20.     On September 9, 2021, Defendant confiscated the Rifle from Plaintiff’s

possession.

       21.     Prior to the Rifle being confiscated by Defendant, Plaintiff was given no

notice or hearing, and no opportunity to contest the seizure of his Rifle.




                                Plaintiff’s First Amended Complaint
                                Cause No. 6:22-cv-01209-ADA-DTG
                                              Page 3 of 5
    Case 6:22-cv-01209-ADA-DTG            Document 39          Filed 07/21/23   Page 4 of 5




       22.     Before and at the time Defendant seized the Rifle, Plaintiff requested an

opportunity to prove to defendants that ownership of the Rifle was legal, but Defendant

confiscated it without providing Plaintiff a hearing.

       23.     At the time the Rifle was seized by Defendant, Plaintiff’s registration

application was pending with Defendant.

       24.    By seizing the Rifle without first providing Plaintiff an opportunity to be

heard, Defendant deprived Plaintiff of his property without due process of law, in violation

of the Fourteenth Amendment to the United States Constitution.

                      Count 2: Violation of Texas Due Process Clause

       25.    The allegations set forth above in Paragraphs 1 through 24, inclusive, are

incorporated into this cause of action by reference as if set forth in full.

       26.     By seizing the Rifle without first providing an opportunity to be heard on

the legality of the Rifle, Defendant deprived Plaintiff of his property without due process

of law, in violation of Article1, Sections 17 and 19 of the Texas Constitution.

       27.    WHEREFORE, Plaintiff requests the relief set forth below.

                                       CONCLUSION

       WHEREFORE, premises considered, Plaintiff prays this Court order the return of

the Rifle to Plaintiff, grant Plaintiff compensatory damages for the unconstitutional taking

and grant him an award of attorney’s fees, along with any other relief the Court deems

equitable and just.




                                Plaintiff’s First Amended Complaint
                                Cause No. 6:22-cv-01209-ADA-DTG
                                              Page 4 of 5
    Case 6:22-cv-01209-ADA-DTG          Document 39          Filed 07/21/23    Page 5 of 5




                                                   Respectfully submitted,

                                                   /s/ Blake Sawyer
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                                                   ATTORNEYS FOR PLAINTIFF
                                                   WILLIAM E. BIGGS


                            CERTIFICATE OF SERVICE

     I certify that on July 21, 2023 a true and correct copy of Plaintiff’s First Amended
Complaint was served on the following counsel of record through electronic service:

      Landon Wade
      Assistant United States Attorney
      Texas State Bar No. 24098560
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                                                                    /s Blake Sawyer
                                                                    Blake Sawyer




                              Plaintiff’s First Amended Complaint
                              Cause No. 6:22-cv-01209-ADA-DTG
                                            Page 5 of 5
